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                                      UNITED STATES COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                       Case No.

 SHEWANDA HALL,

          Plaintiff,
 v.

 CITY OF MIAMI,

       Defendant.
 _________________________________|

                                                COMPLAINT

          COMES NOW, Plaintiff, SHEWANDA HALL (“HALL”) and sues Defendant, CITY

 OF MIAMI (“CITY”), for violation of Title VII of the Civil Rights Act of 1964, 42 USC §

 2000e, et seq. ("Title VII" or the "Act"), and in support she alleges as follows:

                                        JURISDICTION & VENUE

          1.      This is an action brought to remedy unlawful employment practices

 by CITY, for discrimination and retaliation in violation of Title VII for which this Court

 has federal question jurisdiction and a common law claim for malicious

 prosecution for which this Court has supplemental jurisdiction, pursuant to 28 USC

 §§ 1331 and 1367.

          2.      HALL is over the age of 18 and is a resident of this District at all relevant

 times.

          3.      CITY is a municipality located in this District.

          4.      All relevant acts, including the employment of HALL occurred in this

 District.

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                                        FACTUAL ALLEGATIONS

 Race:

         5.      HALL is African American.

 Improper Classification:

         6.      At all relevant times, HALL was employed by the CITY as an

 Investigator.

         7.      Indeed, HALL was the only Black Chief Investigator at the CITY during

 the relevant time frame.

         8.      HALL worked for the CITY from on or about March 12, 2008, until

 February 14, 2014.

         9.      At all relevant times, Cristina Beamud was HALL’s supervisor and held

 the position of Executive Director.

         10.     Her predecessor was Steven Wolf, a White male, who earned

 considerably more than HALL for performing the same or substantially the same

 job duties.

         11.     Due to the stark difference in pay, over the course of her

 employment, including November of 2013, HALL made numerous requests to

 reclassify her position in order for her to receive a pay raise to bring her pay in line

 with not only the White male predecessor’s pay.

         12.     Despite her requests, she did not receive the proper reclassification.




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         13.     Conversely when her White or Hispanic comparators requested

 reclassification due to working out of class, they received the proper

 reclassification and the commensurate pay raises.

 Discrimination:

         14.     During HALL’s employment, Beamud took adverse job actions

 against Black employees, while treating non-Black employees more favorably.

         15.     During HALL’s employment, upon information and belief, Beamud

 made derogatory comments about HALL’s race, including that: “Black people

 are like animals-- haha” and ridiculed the way HALL and another Black woman

 spoke.

         16.     Beamud also treated HALL in a discriminatory manner due to HALL’s

 race and/or gender, since HALL was paid less than her male predecessor though

 she performed the same or substantially the same job duties and reclassified the

 non-Black comparators and increased their salaries.

         17.     In addition to that, Beamud subjected HALL to increased scrutiny

 over her work in comparison to the non-Black comparators.

 Retaliation:

         18.     HALL complained and opposed the CITY’s refusal to reclassify her

 position and pay her properly and similarly to her non-Black and non-female

 comparator.

         19.     Beamud put a halt to the reclassification of HALL’s position even

 though HALL was paid substantially less than her male, White predecessor.


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         20.     The CITY, conversely, reclassified employees who were White and

 non-Black.

                                       CONDITIONS PRECEDENT

         21.              All conditions precedent have been satisfied or have been

 waived, including timely filing of a Charge of Discrimination.

                                             ATTORNEYS’ FEES

         22.     Plaintiff has retained the undersigned counsel and has agreed to pay

 reasonable fees.

                COUNT I- RACE DISCRIMINATION IN VIOLATION OF TITLE VII

         23.     Plaintiff repeats and re-alleges her allegations made in paragraphs 1

 through 22 of this Complaint.

         24.     HALL is a member of a protected class, Black.

         25.     HALL’s predecessor was a White man.

         26.     HALL was treated adversely by her supervisor, Beamud, due to her

 race.

         27.     The CITY treated Non-Black comparators more favorably than HALL,

 including receiving the proper employment classification, raises, and salary

 increases.

         28.     As a result, HALL has suffered damages.

         WHEREFORE, Plaintiff, HALL, respectfully requests that this Court grant

 judgment in her favor and against Defendant, CITY, and award compensatory




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 damages, back pay, front pay, attorneys’ fees costs and such other further relief

 that this Court deems just and equitable.

                 COUNT II-SEX DISCRIMINATION IN VIOLATION OF TITLE VII

         29.     Plaintiff repeats and re-alleges her allegations made in paragraphs 1

 through 22 of this Complaint.

         30.     HALL is a member of a protected class, female.

         31.     HALL performed substantially the same duties as the predecessor,

 who was a White male.

         32.     HALL was paid less than the White male predecessor for performing

 the same or substantially the same job functions.

         33.     As a result, HALL has suffered damages.

         WHEREFORE, Plaintiff, HALL, respectfully requests that this Court grant

 judgment in her favor and against Defendant, CITY, and award compensatory

 damages, back pay, front pay, attorneys’ fees costs and such other further relief

 that this Court deems just and equitable.

                       COUNT III-RETALIATION IN VIOLATION OF TITLE VII

         34.     Plaintiff repeats and re-alleges her allegations made in paragraphs 1

 through 22 of this Complaint.

         35.     HALL’s complaints about race and gender discrimination amounted

 to a statutorily protected activity.




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         36.     After HALL complained about the failure of the CITY to reclassify her

 position and pay differential because of her protected categories (race and

 gender), she suffered material adverse job actions.

         37.     The adverse job actions were causally related to her complaints

 about discrimination.

         38.     Plaintiff has suffered lost wages, compensatory damages, mental

 anguish and suffering as a result of the retaliation by CITY.

         39.     HALL states that Defendant’s actions were in willful and malicious

 disregard of the Act’s anti-retaliation provisions.

         40.     HALL is entitled to reasonable attorneys’ fees and costs in the event

 she prevails in this claim pursuant to 42 USC § 1988.

         WHEREFORE, Plaintiff, HALL, respectfully requests that this Court grant

 judgment in her favor and against Defendant, CITY, and award compensatory

 damages, back pay, front pay, attorneys’ fees costs and such other further relief

 that this Court deems just and equitable.

                                          JURY TRIAL DEMAND

         HALL demands a jury trial on all issues so triable.

 Dated this 8th day of July 2019.


                                                            Respectfully submitted,

                                                    By:      /s/ Gina Cadogan
                                                            GINA MARIE CADOGAN
                                                            Fla. Bar. 177350
                                                            Cadogan Law
                                                            300 S. Pine Island Road, Suite 107

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